              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 1 of 13




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

             VICTOR A. GOMEZ,                        :     MOTION TO VACATE
                 Movant,                             :     28 U.S.C. § 2255
                                                     :
                   v.                                :     CRIMINAL ACTION NO.
                                                     :     1:08-CR-314-1-WBH-CCH
             UNITED STATES OF AMERICA,               :
                 Respondent.                         :     CIVIL ACTION NO.
                                                     :     1:09-CV-3653-WBH-CCH

             MAGISTRATE JUDGE’S FINAL REPORT AND RECOMMENDATION

                   Movant Victor A. Gomez has filed the instant motion to vacate pursuant to

             28 U.S.C. § 2255. Movant seeks to challenge the constitutionality of his sentences,

             which were imposed on July 7, 2009, following a guilty plea entered in the

             Northern District of Georgia.

             I.    Procedural History

                   On August 5, 2008, a grand jury in the Northern District of Georgia returned

             a five-count indictment against Movant and his co-defendants, which charged them

             with two counts of hostage taking in violation of 18 U.S.C. §§ 1203 and 2, one

             count of interference with commerce by threat or violence in violation of 18 U.S.C.

             § 1951(a), one count of possession of a firearm in furtherance of a crime of

             violence in violation of 18 U.S.C. § 924(c)(1)(A), and one count of unlawfully




AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 2 of 13




             transporting a firearm in violation of 18 U.S.C. §§ 922(g)(5) and 924(a)(2) and 2.

             (Doc. 23). On December 9, 2008, the Grand Jury entered a superseding indictment

             against Movant and his co-defendants, which added one count of conspiracy to

             possess with the intent to distribute at least five kilograms of cocaine in violation

             of 21 U.S.C. §§ 841(b)(1)(A)(ii) and 846, and a forfeiture provision. (Doc. 63).

             On March 20, 2009, Movant entered into a guilty plea to Count One (hostage

             taking), Count Four (possession of a firearm), and Count Six (conspiracy to

             distribute more than five kilograms of cocaine). (Doc. 100).1 The plea agreement

             contains the following waiver of Movant’s appellate and collateral rights

             (“appellate waiver”):

                          LIMITED WAIVER OF APPEAL: To the maximum extent
                          permitted by federal law, the defendant voluntarily and
                          expressly waives the right to appeal his conviction and
                          sentence and the right to collaterally attack his conviction and
                          sentence in any post-conviction proceeding (including, but not
                          limited to, motions filed pursuant to 28 U.S.C. § 2255) on any
                          ground, except that the Defendant may file a direct appeal of
                          an upward departure or a variance from the otherwise
                          applicable sentencing guideline range. The Defendant
                          understands that this Plea Agreement does not limit the
                          Government’s right to appeal, but if the Government initiates


                   1
                     In exchange for his plea, the Government dismissed the remaining counts
             against Movant. (Doc. 107 at 6).

                                                      2



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 3 of 13




                          a direct appeal of the sentence imposed, the Defendant may file
                          a cross-appeal of that same sentence.

             (Doc. 107 at 9).

                   On July 7, 2009, Movant was sentenced to 210 months’ imprisonment on

             Counts One and Six, to run concurrently, and 84 months’ imprisonment on Count

             Four to run consecutively, for a total of 294 months’ imprisonment followed by a

             five-year term of supervised release. (Doc. 111). Movant did not appeal his

             sentences.

                   Movant filed the instant § 2255 motion on December 17, 2009. (Doc. 119).

             In the motion, Movant raises several claims of ineffective assistance of counsel

             related to counsel’s conduct at sentencing. (Doc. 119). Movant also raises three

             claims related to alleged sentencing errors by the Court. (Id.). As to all claims,

             Movant requests that this Court vacate his sentence.

             II.   Standard of Review

                   Congress enacted § 2255, authorizing convicted criminal defendants to file

             a motion to correct sentences that violate federal law, with the intention that the

             statute serve as the primary method of collateral attack on federally-imposed

             sentences. United States v. Jordan, 915 F.2d 622, 625 (11th Cir. 1990). Pursuant



                                                     3



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 4 of 13




             to § 2255, individuals sentenced by a federal court can attack the sentence imposed

             by claiming one of four different grounds: “(1) that the sentence was imposed in

             violation of the Constitution or laws of the United States; (2) that the court was

             without jurisdiction to impose such sentence; (3) that the sentence was in excess

             of the maximum authorized by law; and (4) that the sentence is otherwise subject

             to collateral attack.” Hill v. United States, 368 U.S. 424, 426-27 (1962); see

             generally United States v. Hayman, 342 U.S. 205 (1952).

                   “To obtain collateral relief a prisoner must clear a significantly higher hurdle

             than would exist on direct appeal.” United States v. Frady, 456 U.S. 152, 166

             (1982). Movant must establish that the facts surrounding his claim present

             “exceptional circumstances where the need for the remedy afforded by the writ of

             habeas corpus is apparent.” Bowen v. Johnston, 306 U.S. 19, 27 (1939).

                   This Court may deny § 2255 relief without an evidentiary hearing if “the

             motion and the files and records of the case conclusively show that the prisoner is

             entitled to no relief.” 28 U.S.C. § 2255; see Long v. United States, 883 F.2d 966,

             968 (11th Cir. 1989). As discussed below, Movant’s § 2255 motion and the record

             in these cases conclusively show that he is entitled to no relief in connection with

             any of his claims. Thus, no evidentiary hearing is required.

                                                      4



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 5 of 13




             III.   Analysis

                    The Government contends that Movant’s claims should not be entertained

             by this Court because Movant waived the right to appeal or collaterally attack his

             sentences under the negotiated plea agreement. The undersigned agrees.

                    Here, the appellate waiver in Movant’s plea agreement precludes both direct

             and collateral review of both his sentences and convictions. An appellate waiver,

             however, does not bar claims for ineffective assistance of counsel relating to the

             plea agreement or the waiver, or claims challenging the voluntariness of the plea.

             Patel v. United States, 252 F. App’x 970, 975 (11th Cir. 2007); Williams v. United

             States, 396 F.3d 1340, 1342 n.2 (11th Cir. 2005). The undersigned will construe

             Movant’s conclusory allegation that counsel “did not mention” the appellate

             waiver as an attempt by Movant to show that he did not enter into the appellate

             waiver knowingly or voluntarily.

                    There is a strong presumption that statements made during the plea colloquy

             are true. See Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations

             in open court carry a strong presumption of verity.”); United States v. Anderson,

             384 F. App’x 863, 865 (11th Cir. 2010) (“There is a strong presumption that

             statements made during a plea colloquy are true.”); accord, United States v.

                                                     5



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 6 of 13




             Munguia-Ramirez, 267 F. App’x 894, 897 (11th Cir. 2008); Patel v. United States,

             252 F. App’x 970, 974 (11th Cir. 2007). Where a Movant’s claim of ineffective

             assistance of counsel is in direct conflict with his statements under oath, he has a

             strong burden to show that his statements under oath were false. Patel, 252 F.

             App’x at 974-75. Movant’s claim that counsel never mentioned the appellate

             waiver is belied by the record.

                   Indeed, during the plea hearing, Movant’s counsel told the Court that he

             discussed the plea with Movant, and that an interpreter not only explained the

             contents of the plea agreement to Movant, but that the interpreter also provided a

             Spanish-translated copy of the plea agreement to Movant for Movant to read

             himself. (Doc. 121 at 3-4). Additionally, Movant stated under oath that he had

             enough time to discuss the case with counsel; that he was satisfied with counsel’s

             performance; that he read, understood, and signed the written plea agreement, and

             that no one had promised him anything or had otherwise coerced him into pleading

             guilty. (Id. at 6-8). Moreover, the Court specifically questioned Movant about the

             appellate waiver, asking him if he understood that he was giving up his right to

             appeal and to file collateral relief, and Movant stated that he understood. (Id. at

             11-13).

                                                      6



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 7 of 13




                   It is therefore clear from the record that Movant understood the significance

             of the appellate waiver, and he has not produced any evidence to challenge the

             veracity of his sworn testimony. Consequently, Movant’s appellate waiver is valid

             and enforceable. See United States v. Steele, 168 F. App’x 897, 900 (11th Cir.

             2006) (finding appellate waiver valid where the court specifically questioned the

             movant about the waiver provision); United States v. Montes, 151 F. App’x 846,

             853 (11th Cir. 2005) (finding appellate waiver valid where judge reviewed the

             waiver with the movant and he agreed that he was freely and voluntarily waiving

             his right to appeal his sentence); United States v. Bushert, 997 F2d 1343, 1350-51

             (11th Cir. 1993) (“One of the keys to enforcing a sentence appeal waiver is that the

             defendant knew he had a ‘right to appeal his sentence and that he was giving up

             that right.’”) (citations omitted); Williams v. United States, 396 F.3d 1340, 1342

             (11th Cir. 2005) (finding appellate waiver enforceable where the court expressly

             questioned movant about the specifics of the waiver and determined that he had

             entered into the written plea agreement, which included the waiver, freely and

             voluntarily, and where “[t]he plain language of the agreement informed [Movant]

             that he was waiving a collateral attack on his sentence.”). See also United States

             v. Johnson, 541 F.3d 1064, 1066 (11th Cir. 2008) (stating that a waiver is valid if

                                                      7



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 8 of 13




             the Government shows that either: “(1) the district court specifically questioned

             the [movant] about the waiver; or (2) the record makes clear that the [movant]

             otherwise understood the full significance of the waiver.”).

                   Inasmuch as Movant does not challenge the plea agreement and he

             voluntarily, intelligently, and knowingly entered into the appellate waiver, such

             waiver precludes the undersigned from addressing all of the claims asserted in the

             § 2255 motion. Indeed, none of those claims concern matters that have any

             bearing on the validity of the plea agreement or appellate waiver; instead, they

             allege ineffective assistance of counsel at sentencing or challenges to the sentences

             themselves. As such, they are precluded by Movant’s waiver to seek collateral

             relief. See United States v. Riolo, 398 F. App’x 568, 570-71 (11th Cir. 2010)

             (“[T]he waiver would prevent [the movant] from raising a claim of ineffective

             assistance of counsel at sentencing[.] . . .”); Patel, 252 F. App’x at 974 (“We have

             held that a valid appeal waiver precludes § 2255 claims based on ineffective

             assistance of counsel at sentencing.”); Williams, 396 F.3d at 1342 (holding that a

             valid sentence-appeal waiver, entered into voluntarily and knowingly pursuant to

             a plea agreement, precludes the movant from attempting to attack the sentence in

             a collateral proceeding through a claim of ineffective assistance of counsel during

                                                      8



AO 72A
(Rev.8/82)
              Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 9 of 13




             sentencing); Vaca-Ortiz v. United States, 320 F.Supp.2d 1362, 1365-66 (N.D. Ga.

             2004) (O’Kelley, J.) (holding a waiver of the right to appeal or mount a collateral

             attack can serve to bar a subsequent claim of ineffective assistance of counsel

             during sentencing). Accordingly, this Court cannot review these claims.

                   Movant argues in his reply that even if the appellate waiver is valid, his

             sentences are higher than the applicable guideline range and, therefore, his claims

             are not subject to the waiver. Movant’s argument, however, is misplaced. After

             hearing arguments from both sides, at sentencing the Court determined that

             Movant’s offense level for Counts One and Six was 37 and his criminal history a

             category I, which resulted in a guideline range of 210-262 months. See U.S.S.G.

             § 5A (Sentencing Table); Doc. 122 at 6. After adding the 84-month consecutive

             sentence for Count 4, the guideline range was 294-306 months. Movant’s 294-

             month sentence was well within – and in fact, at the low end of – that guideline

             range.2 As such, there was no upward departure or other variance from the



                   2
                     Movant appears to claim that his offense level should have been 35, which
             would have changed the guideline range to 168-210. With the additional 84
             months from Count 4, the guideline range would have been 252- 294. Even under
             this scenario, his 294-month sentence still is within the guideline range, albeit at
             the higher end.

                                                      9



AO 72A
(Rev.8/82)
             Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 10 of 13




             applicable advisory guideline range and, therefore, the waiver precludes his claims

             from being reviewed on the merits.

                   Finally, Movant never raised any of his claims on direct appeal. Generally,

             a movant must advance an available challenge to his conviction on direct appeal,

             or else the Court must consider the challenge procedurally barred in a § 2255

             proceeding. Mills v. United States, 36 F.2d 1052, 1055 (11th Cir. 1994). “A

             defendant can avoid a procedural bar only by establishing one of the two

             exceptions to the procedural default rule. Under the first exception, a defendant

             must show cause for not raising the claim of error on direct appeal and actual

             prejudice from the alleged error.” Lynn v. United States, 365 F.3d 1225, 1234

             (11th Cir. 2004) (citing Bousley v. United States, 523 U.S. 614, 622 (1998)).

             “Under the second exception, a court may allow a defendant to proceed with a §

             2255 motion despite his failure to show cause for procedural default if ‘a

             constitutional violation has probably resulted in the conviction of one who is

             actually innocent.’” Lynn, 365 F.3d at 1234-35 (quoting Mills, 36 F.3d at 1055).

                   Movant never raised his claims on appeal, and he does not attempt to

             demonstrate either of the exceptions to the procedural default rule. As such, all of



                                                     10



AO 72A
(Rev.8/82)
             Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 11 of 13




             Movant’s claims are procedurally defaulted and cannot be considered on the

             merits.

             III.   Conclusion

                    Based on the foregoing reasons, IT IS HEREBY RECOMMENDED that

             Movant Victor Abiles Gomez’s motion to vacate sentence [Doc. 119] be DENIED.

             IV.    Certificate of Appealability

                    Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district

             court must issue or deny a certificate of appealability when it enters a final order

             adverse to the applicant. . . . If the court issues a certificate, the court must state the

             specific issue or issues that satisfy the showing required by 28 U.S.C.

             § 2253(c)(2).” 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability

             (“COA”) may issue “only if the applicant has made a substantial showing of the

             denial of a constitutional right.” In order for the certification requirement to fulfill

             its function of weeding out frivolous appeals, a court should not automatically

             issue a COA; rather, the applicant must prove “something more than the absence

             of frivolity” or “the existence of mere ‘good faith’ on his or her part.” Miller-El

             v. Cockrell, 537 U.S. 322, 338 (2003) (citations omitted).


                                                         11



AO 72A
(Rev.8/82)
             Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 12 of 13




                   Movant need not prove, however, that some jurists would grant the § 2255

             motion. See id. “The question is the debatability of the underlying constitutional

             claim, not the resolution of that debate.” See Lamarca v. Secretary, Dep’t of Corr.,

             568 F.3d 929, 934 (11th Cir. 2009) (citing Miller-El, 537 U.S. at 325). In other

             words, Movant need only demonstrate that “reasonable jurists would find the

             district court’s assessment of the constitutional claims debatable or wrong.” Slack

             v. McDaniel, 529 U.S. 473, 484 (2000). Based on the foregoing discussion of

             Movant’s claims, reasonable jurists would not find “debatable or wrong” the

             undersigned’s determination that Movant voluntarily waived his appellate and

             collateral rights or that all of his claims are procedurally barred. See Slack, 529

             U.S. at 484.

                   Accordingly, IT IS FURTHER RECOMMENDED that a COA be

             DENIED.




                                                     12



AO 72A
(Rev.8/82)
             Case 1:08-cr-00314-LMM-RGV Document 132 Filed 07/07/11 Page 13 of 13




                   The Clerk is DIRECTED to terminate the reference to the undersigned

             Magistrate Judge.

                         IT IS SO ORDERED this 7th day of July, 2011.



                                          __________________________________
                                          C. CHRISTOPHER HAGY
                                          UNITED STATES MAGISTRATE JUDGE




                                                13



AO 72A
(Rev.8/82)
